Case 2:21-cv-06615-ODW-DFM Document 13 Filed 10/28/21 Page 1 of 1 Page ID #:199


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    7                       UNITED STATES DISTRICT COURT
    8        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   10 MARTHA GALLARDO,                          Case No. 2:21-cv-06615-ODW (DFMx)
   11              Plaintiff,
                                                ORDER GRANTING
   12        v.                                 STIPULATION TO REMAND
                                                FROM FEDERAL COURT TO
   13 COSTCO WHOLESALE                          STATE COURT [12]
        CORPORATION, DOES 1 TO 50,
   14 INCLUSIVE,

   15              Defendants.
   16

   17        Having considered the Stipulation of Defendant COSTCO WHOLESALE
   18 CORPORATION and Plaintiff MARTHA GALLARDO for remand to the Los

   19 Angeles County Superior Court (ECF No. 12), the Court hereby ORDERS that the

   20 Stipulation is GRANTED. Pursuant to the terms of the Stipulation, this matter is

   21 hereby REMANDED to the Los Angeles County Superior Court as Case No.

   22 19STCV43297.

   23        The Clerk of the Court shall close the case.
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        DATED: October 28, 2021            ______________________________________
   26                                      HON. OTIS D. WRIGHT, II
   27                                      UNITED STATES DISTRICT JUDGE

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            [PROPOSED] ORDER GRANTING REMAND FROM FEDERAL COURT TO STATE COURT
